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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                     Chapter      11
                                                                                                                        o Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Prince Bakery, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  2418 Belmont Avenue                                           2245 New England Thruway
                                  Bronx, NY 10458                                               Bronx, NY 10475
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Bronx                                                         Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor               n Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  o Partnership (excluding LLP)
                                  o Other. Specify:




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Debtor    Prince Bakery, Inc.                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                       o Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       o Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       o Railroad (as defined in 11 U.S.C. § 101(44))
                                       o Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       o Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       o Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       n None of the above
                                       B. Check all that apply
                                       o Tax-exempt entity (as described in 26 U.S.C. §501)
                                       o Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       o Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                3118

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                       o Chapter 7
                                       o Chapter 9
     A debtor who is a “small          n Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                         o The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                          n    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            o A plan is being filed with this petition.
                                                            o Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                            o The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                            o The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       o Chapter 12
9.   Were prior bankruptcy             n No.
     cases filed by or against
     the debtor within the last 8      o Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                               When                                Case number
                                                 District                               When                                Case number




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Debtor    Prince Bakery, Inc.                                                                           Case number (if known)
          Name

10. Are any bankruptcy cases               o No
    pending or being filed by a
    business partner or an                 n Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Attachment                                               Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                       n      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       o      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                       n No
    real property or personal          o Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                  o It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                  o It needs to be physically secured or protected from the weather.
                                                  o It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                  o Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                  o No
                                                  o Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                               n Funds will be available for distribution to unsecured creditors.
                                               o After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of
    creditors
                                       n 1-49                                          o 1,000-5,000                              o 25,001-50,000
                                       o 50-99                                         o 5001-10,000                              o 50,001-100,000
                                       o 100-199                                       o 10,001-25,000                            o More than100,000
                                       o 200-999

15. Estimated Assets                   o $0 - $50,000                                  o $1,000,001 - $10 million                 o $500,000,001 - $1 billion
                                       o $50,001 - $100,000                            o $10,000,001 - $50 million                o $1,000,000,001 - $10 billion
                                       o $100,001 - $500,000                           o $50,000,001 - $100 million               o $10,000,000,001 - $50 billion
                                       n $500,001 - $1 million                         o $100,000,001 - $500 million              o More than $50 billion

16. Estimated liabilities              o $0 - $50,000                                  o $1,000,001 - $10 million                 o $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
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Debtor   Prince Bakery, Inc.                                                            Case number (if known)
         Name

                               o $50,001 - $100,000                      o $10,000,001 - $50 million             o $1,000,000,001 - $10 billion
                               o $100,001 - $500,000                     o $50,000,001 - $100 million            o $10,000,000,001 - $50 billion
                               n $500,001 - $1 million                   o $100,000,001 - $500 million           o More than $50 billion




Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    Prince Bakery, Inc.                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 9, 2021
                                                  MM / DD / YYYY


                             X /s/ Anthony M. Rusciano                                                    Anthony M. Rusciano
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    President




18. Signature of attorney    X /s/ Kenneth M. Lewis                                                        Date February 9, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Kenneth M. Lewis
                                 Printed name

                                 Whiteford, Taylor & Preston LLP
                                 Firm name

                                 220 White Plains Road
                                 Second Floor
                                 Tarrytown, NY 10591
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (914) 761-8400                Email address      klewis@wtplaw.com

                                 2107308 NY
                                 Bar number and State




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          Bankruptcy Cases Being Filed by the Debtor and Affiliates of the Debtor

       Each of the entities below (collectively, the “Debtors”) are filing a petition for relief under
chapter 11 of title 11 of the United States Code in the United States Bankruptcy Court for the
Southern District of New York. The Debtors will move for joint administration of these cases
under the case number assigned to the chapter 11 case of Prince Bakery, Inc.

      Prince Bakery, Inc.
      Prince Bakery SA, Inc.
      Blue Spruce Corporation
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 Fill in this information to identify the case:

 Debtor name         Prince Bakery, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                o Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        o         Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
        o         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        o         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        o         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        o         Schedule H: Codebtors (Official Form 206H)
        o         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        o         Amended Schedule
        n         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        o         Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 9, 2021                        X /s/ Anthony M. Rusciano
                                                                       Signature of individual signing on behalf of debtor

                                                                       Anthony M. Rusciano
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Prince Bakery, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                o Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 A-1 Gilbert          Laura Baird                                Trade Payable                                                                                              $1,115.00
 Telephone Answerin
 P.O. Box 15395       laura@a1gilbert.co
 Beverly Hills, CA    m
 90209                (310) 281-0300
 AMRO Container                                                  Trade Payable                                                                                              $9,000.00
 Corp.
 65 North Industry    (718) 704-4138
 Court
 Deer Park, NY 11729
 Arctic Glacier       Jeff Hendler                               Trade Payable                                                                                              $3,000.00
 Premium Ice
 500 Fenimore Road jhendler@icesuran
 Mamaroneck, NY       ce.com
 10543                (914) 490-3079
 Blue Spruce                                                     Rent                                                                                                   $188,000.00
 Corporation
 2245 New England
 Thruway
 Bronx, NY 10475
 EJ Paper Company Amil                                           Trade Payable                                                                                                    $0.00
 760 Saw Mill River
 Road
 Yonkers, NY 10710    (914) 497-2013
 Ferrantino Fuel      Rocco Iacoviello                           Trade Payable                                                                                            $22,265.72
 Corporation
 Mango & Iacoviello,
 LLP                  (212) 695-5454
 14 Penn Plaza, Suite
 1919
 New York, NY 10122
 Four Suns Fuel Co. Pat Farrell                                  Trade Payable                                                                                            $11,000.00
 Inc.
 2460 Rowe Street
 Bronx, NY 10461      (718) 358-4541




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Prince Bakery, Inc.                                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Joseph A. Maria,                                  Claimed                              Disputed                                                                        $185,027.65
 Esq.                            jmariapc@jmariapc Commissions                          Subject to
 301 Old Tarrytown               .onmicrosoft.com                                       Setoff
 Road                            (914) 684-0333
 White Plains, NY
 10603
 Michael D. Olsey                                                Claimed         Disputed                                                                                 $44,500.00
 6 Tamarac Circle                                                Management Fees Subject to
 Harrison, NY 10528              (914) 572-2069                                  Setoff
 NYC Water Board                                                                                                                                                          $59,184.62
 P.O. Box 11863
 Newark, NJ
 07101-8163
 NYS Dept. of Labor              Cassandra Marcus                                                                                                                         $80,000.00
 Unemployment
 Insurance Divisio
 2400 Halsey Street              (917) 795-0919
 Bronx, NY 10461
 NYS Workers                                                                                                                                                              $10,239.17
 Compensation
 Board
 Attn: Finance Office
 328 State Street,
 Room 331
 Schenectady, NY
 12305-2302
 Panama City                     Don                             Trade Payable                                                                                            $38,000.00
 Products
 450 Odgen Avenue
 Mamaroneck, NY                  (914) 640-2304
 10543
 Sidco Foods                     Xiomara                         Trade Payable                                                                                            $10,300.00
 1628 Bathgate
 Avenue
 Bronx, NY 10457                 (973) 286-9604
 U.S. Flour Corp.                 Yuri - Ron Alcalay             Trade Payable                                                                                            $30,000.00
 1 Huntington
 Quadrangle, Suite               yanive@usflour.co
 Melville, NY 11747              m
                                 (561) 945-5574




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Prince Bakery, Inc.                                                                                       Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                          LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Constance Koeper                                                                     50%
 345 Knollwood Extension
 Elmsford, NY 10523

 Frances Rusciano                                                                     50%
 19 Knolltop Road
 Elmsford, NY 10523


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date February 9, 2021                                                       Signature /s/ Anthony M. Rusciano
                                                                                            Anthony M. Rusciano

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Prince Bakery, Inc.                                                                           Case No.
                                                                                  Debtor(s)               Chapter     11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Prince Bakery, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



n None [Check if applicable]




 February 9, 2021                                                     /s/ Kenneth M. Lewis
 Date                                                                 Kenneth M. Lewis
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Prince Bakery, Inc.
                                                                      Whiteford, Taylor & Preston LLP
                                                                      220 White Plains Road
                                                                      Second Floor
                                                                      Tarrytown, NY 10591
                                                                      (914) 761-8400
                                                                      klewis@wtplaw.com




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       The additional documents, disclosures, statements and other information required by
section 1116(1) of the Bankruptcy Code and Rule 1007-2 of the Local Bankruptcy Rules are
included in the accompanying Declaration of Anthony M. Rusciano Pursuant to Rule 1007-2 of
the Local Bankruptcy Rules for the Southern District of New York.
